         Case 1:99-mc-09999 Document 439-3 Filed 05/23/24 Page 1 of 1 PageID #: 58012
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                     REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                           FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                            ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                 TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                     for the District of Delaware                             on the following
      G Trademarks or         ✔ Patents.
                              G             ( G the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
                                           5/23/2024                                      for the District of Delaware
PLAINTIFF                                                                 DEFENDANT
 PFIZER INC., PFIZER IRELAND PHARMACEUTICALS,                               APOTEX INC. and APOTEX CORP.
 and BRISTOL-MYERS SQUIBB COMPANY


        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 8,314,117 B2                             11/20/2012               Bristol-Myers Squibb Company

2 8,759,372 B2                             6/24/2014                Bristol-Myers Squibb Company

3 11,083,724 B2                            8/10/2021                Pfizer Ireland Pharmaceuticals

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                       G Amendment            G Answer          G Cross Bill        G Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                      (BY) DEPUTY CLERK                                            DATE



Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
